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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

WYTERIA SIMS,                       )
INDIVIDUALLY, AND O/B/O             )
THE ESTATE OF MARCUS                ) CIVIL ACTION FILE NO.
SIMS,                               )
                                    ) 1:22-cv-01696-VMC
       PLAINTIFF,                   )
                                    )
v.                                  )
                                    )
WINGATE MANAGEMENT                  )
COMPANY, LLC,                       )
                                    )
       DEFENDANT.                   )

            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

KEIONTAY DAVIS,                     )
                                    )
       PLAINTIFF,                   ) CIVIL ACTION FILE NO.
                                    )
v.                                  ) 1:22-cv-01692-VMC
                                    )
WINGATE MANAGEMENT                  )
COMPANY, LLC,                       )
                                    )
       DEFENDANT.                   )
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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

KENNETH LONG,                       )
                                    )
       PLAINTIFF,                   ) CIVIL ACTION FILE NO.
                                    )
v.                                  ) 1:22-cv-01693-VMC
                                    )
WINGATE MANAGEMENT                  )
COMPANY, LLC,                       )
                                    )
       DEFENDANT.                   )


            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DEMARIO NEWTON,                     )
                                    )
       PLAINTIFF,                   ) CIVIL ACTION FILE NO.
                                    )
v.                                  ) 1:22-cv-01694-VMC
                                    )
WINGATE MANAGEMENT                  )
COMPANY, LLC,                       )
                                    )
       DEFENDANT.                   )




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

   RICKY PHILLIPS,                       )
                                         )
          PLAINTIFF,                     ) CIVIL ACTION FILE NO.
                                         )
   v.                                    ) 1:22-cv-01695-VMC
                                         )
   WINGATE MANAGEMENT                    )
   COMPANY, LLC,                         )
                                         )
          DEFENDANT.                     )


            DEFENDANT’S DISCLOSURE OF EXPERT WITNESS
             PURSUANT TO FED. R. CIV. P. 26(a)(2)(A) and (B)

        COMES NOW Defendant Wingate Management Company, LLC

(“Wingate”) and hereby identifies Karim H. Vellani, CPP, CSC as an expert

witness who may testify at trial to present evidence under Rules 702, 703, or 705

of the Federal Rules of Evidence. Wingate attaches hereto the expert report of Mr.

Vellani pursuant to Fed. R. Civ. P. 26(a)(2)(B).




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     This 29th day of April, 2024.

                              SWIFT, CURRIE, McGHEE & HIERS, LLP

                              By:    /s/ Lauren D. Woodrick______________
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                                     Lauren D. Woodrick
                                     Georgia State Bar No. 324394
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                          CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that I have this day served a copy of the within and

foregoing Defendant’s Disclosure of Expert Witness upon all parties to this

matter via electronic service to all counsel of record as follows:

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         This 29th day of April, 2024.

                                  SWIFT, CURRIE, McGHEE & HIERS, LLP

                                  By:    /s/ Lauren D. Woodrick______________
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